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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                           Plaintiff,         )
                                              )
                      v.                      )    No. 1:20-cr-00245-JPH-TAB
                                              )
 ROBERTO CRUZ-RIVERA                          )
    a/k/a ROBERT RIVERA                       )
    a/k/a ROBERTO CARLOS CRUZ                 ) -01
 RIVERA,                                      )
                                              )
                           Defendant.         )

                                        ORDER

       Defendant, Roberto Cruz-Rivera, has moved to dismiss the indictment

 with prejudice because it was untimely under the Speedy Trial Act. Dkt. [33].

 For the reasons that follow, that motion is GRANTED in part and DENIED in

 part. The indictment, dkt. [9], is DISMISSED without prejudice.

                                           I.
                                  Facts & Background

       On July 22, 2020, Mr. Cruz-Rivera was charged by criminal complaint

 with violating 18 U.S.C. § 2250(a) for failure to register as a sex offender. Dkt.

 2. He was arrested on July 23, 2020, in the Northern District of Florida. Dkt.

 33 at 1 ¶ 2; dkt. 35 at 2. That same day, Mr. Cruz-Rivera appeared by

 appointed counsel before a magistrate judge in Florida, id., who ordered the

 United States Marshals Service ("USMS") to "transport the defendant . . . to

 [this] district and deliver the defendant" and "immediately notify [this district] .




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 . . of the defendant's arrival so that further proceedings may be promptly

 scheduled," dkt. 5.

        On September 15, 2020, the government filed a motion to extend time to

 file an indictment in this district, asking to retroactively exclude the period

 from September 1 until the filing of an indictment from the Speedy Trial Act's

 calculation. See dkt. 7. The magistrate judge granted that request, making an

 ends-of-justice finding 1 under 18 U.S.C. § 3161(h)(7). Dkt. 8.

        On September 24, 2020, Mr. Cruz-Rivera was indicted for Failure to

 Register under the Sex Offender Registration and Notification Act ("SORNA") in

 violation of 18 U.S.C. § 2250(a). Dkt. 9.

        Mr. Cruz-Rivera filed three pro se requests for dismissal of the indictment

 against him, dkt. 17; dkt. 21; dkt. 23, but the Court denied these requests and

 referred the issues to Mr. Cruz-Rivera's counsel, 2 dkt. 19; dkt. 20; dkt. 24.

        On February 23, 2021, Mr. Cruz-Rivera's initial appearance was held in

 this district. Dkt. 29. On March 3, 2021, Defendant, by counsel, filed a

 motion to dismiss the indictment. Dkt. 33.




 1The government has abandoned the ends-of-justice rationale in its response brief, conceding
 that its previous approach was "mistaken." See dkt. 35 at 4 n.2; see Zedner v. United States,
 547 U.S. 489, 506–07 (2006) ("[T]he Act is clear that the [ends-of-justice] findings must be
 made . . . before granting the continuance . . . .") (citing 18 U.S.C. § 3161(h)(8)(A)) (emphasis
 added); United States v. Janik, 723 F.2d 537, 545 (7th Cir. 1983) ("Since the Act does not
 provide for retroactive continuances, a judge could not grant an 'ends of justice' continuance
 nunc pro tunc . . . .").
 2"A defendant does not have a right to represent himself when he is also represented by
 counsel," so a court "has wide discretion to reject pro se submissions by defendants
 represented by counsel." United States v. Cross, 962 F.3d 892, 899 (7th Cir. 2020), cert.
 denied, No. 20-7062, 2021 WL 850708 (U.S. Mar. 8, 2021).

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                                                 II.
                                               Analysis

        The Speedy Trial Act requires an indictment to be filed within 30 days of

 a defendant's arrest. 18 U.S.C. § 3161(b). If an indictment is not filed "within

 the time limit required by section 3161(b) . . . such charge against the

 individual contained in [the criminal] complaint shall be dismissed or otherwise

 dropped." 18 U.S.C. § 3162(a)(1).

        A. Dismissal of the Indictment

        Mr. Cruz-Rivera asks the Court to dismiss the indictment with prejudice

 because it was filed 33 days after the Speedy Trial Act's 30-day arrest-to-

 indictment time limit had expired. See dkt. 33. It is undisputed that Mr. Cruz-

 Rivera was arrested on July 23, 2020, dkt. 33 at 1 ¶ 2; dkt. 35 at 2, and no

 indictment was filed until September 24, 2020, dkt. 9. It was thus

 approximately 63 days 3 from arrest to indictment, which exceeds the Speedy

 Trial Act's general 30-day limit by 33 days.

        The government argues that this delay is excludable under Section

 3161(h)(1)(F) of the Speedy Trial Act, see dkt. 35, which provides that a period

 of "delay resulting from transportation of any defendant from another district"

 "shall be excluded in computing the time within which an . . . indictment must

 be filed," "except that any time consumed in excess of ten days from the date . .




 3In counting days, the Speedy Trial Act "exclude[s] the day of the event that triggers the
 period." Fed. R. Crim. P. 45(a)(1)(A).


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 . an order direct[s] such transportation, and the defendant's arrival at the

 destination shall be presumed to be unreasonable."

       The government has not shown that the delay in bringing the indictment

 "result[ed] from transportation" of Mr. Cruz-Rivera. See 18 U.S.C.

 § 3161(h)(1)(F). The government devotes most of its response to explaining why

 there was a delay in transporting Mr. Cruz-Rivera from Florida to Indiana. See

 dkt. 35 at 5–7. But the government has not explained why, as a threshold

 matter, it could not have pursued an indictment in Mr. Cruz-Rivera's absence.

 See id. And the arguments that the government presented in support of its

 motion for an extension of time to indict, see dkt. 7; dkt. 35 at 3, are belied by

 the fact that the government indicted Mr. Cruz-Rivera a short time after

 seeking the extension and months before he was transported, see dkt. 9.

 Moreover, the government admits that its failure to bring the indictment within

 the required timeframe was an oversight. Dkt. 7 at 2 ¶ 7. In short, the

 government has not shown a nexus between the delay in transporting Mr.

 Cruz-Rivera and the delay in bringing the indictment against him, so the

 transportation exclusion under Section 3161(h)(1)(F) of the Speedy Trial Act

 does not apply.

       Because "no indictment or information [wa]s filed within the time limit

 required," the "charge against [Mr. Cruz-Rivera] . . . shall be dismissed." 18

 U.S.C. § 3162(a)(1).




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        B.     Dismissal with or without prejudice 4

        "In determining whether to dismiss the case with or without prejudice,

 the court shall consider, among other[ factors], . . . the seriousness of the

 offense; the facts and circumstances of the case which led to the dismissal; and

 the impact of a reprosecution on the administration of this chapter and on the

 administration of justice." 18 U.S.C. § 3162(a)(1). In addition to these

 enumerated factors, "the court should consider whether the defendant has

 been prejudiced." United States v. Sykes, 614 F.3d 303, 309 (7th Cir. 2010).

               1. Seriousness of the Offense

        Mr. Cruz-Rivera is charged with Failure to Register as a Sex Offender in

 violation of 18 U.S.C. § 2250(a), a very serious offense. Violations of this

 statute are punishable by up to ten years' imprisonment, and the offense that

 requires Mr. Cruz-Rivera to register is first-degree rape. See dkt. 35 at 8.

 There is a strong public interest in enforcing laws designed to keep track of

 persons convicted of sex offenses. See Carr v. United States, 560 U.S. 438, 441

 (2010). The seriousness of the charged offense weighs in favor of dismissal

 without prejudice.

               2. Facts and Circumstances

        The facts and circumstances of the events leading to dismissal include

 both the government's and the defendant's roles in the delay. See United

 States v. Taylor, 487 U.S. 326, 338–40 (1988). The Court asks first whether


 4Mr. Cruz-Rivera's requests a hearing on this issue, but he has pointed to no case law
 requiring such a hearing under the Speedy Trial Act nor has he designated disputed facts that
 a hearing could help resolve. See dkt. 33 at 2. Therefore, his request for a hearing is DENIED.

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 "the Government acted in bad faith" with respect to the defendant, whether

 there is "any pattern of neglect by the local United States Attorney," or any

 other "apparent antipathy" toward the defendant. Id. at 339.

       Here, the government states that its delay was an "oversight," dkt. 35 at

 9, and that it "acted in good faith and sought to rectify the issue by seeking a

 court-ordered extension of time to indict," id. at 2. The government also

 contends that the COVID-19 pandemic contributed to the delay in bringing the

 indictment. See id. at 2.

       Mr. Cruz-Rivera responds "that the government's intentional delay was to

 harass, to gain tactical advantage . . . and to knowingly violate his rights," but

 he has not supported these claims. Dkt. 37 at 4; see Taylor, 487 U.S. at 339.

 While the government's attempt to remedy the oversight was mistaken, dkt. 35

 at 4 n.2, its explanations for the delay are plausible, and Mr. Cruz-Rivera has

 not shown that the delay was the result of bad faith, misconduct, or a pattern

 of neglect. On balance, this factor also supports dismissal without prejudice.

 See Sykes, 614 F.3d at 310.

       Last, Mr. Cruz-Rivera does not appear to have engaged in any level of

 "culpable conduct" that may have contributed to "the failure to meet the timely

 . . . schedule." Taylor, 487 U.S. at 340.

       In sum, the facts and circumstances of the delay here weigh in favor of

 dismissal without prejudice.




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              3. Impact of Reprosecution

       As to the impact of reprosecution on the administration of justice and of

 the Speedy Trial Act, the Supreme Court "encourage[s] district courts to take"

 this factor seriously and has explained that "[i]t is self-evident that dismissal

 with prejudice . . . is more likely to induce salutary changes in procedures,

 reducing pretrial delays." Taylor, 487 U.S. at 342. However, this factor "does

 not require dismissal with prejudice for every violation" because "[d]ismissal

 without prejudice is not a toothless sanction: it forces the Government to

 obtain a new indictment if it decides to reprosecute, and it exposes the

 prosecution to dismissal on statute of limitations grounds," which "may make

 reprosecution, even if permitted, unlikely." Id. Although the statute of

 limitations does not appear to be an issue yet in this case, see 18 U.S.C.

 § 3282(a), dismissal without prejudice would still place a burden on the

 government to seek a new indictment. Therefore, the impact of dismissal

 without prejudice here would not detract from the Speedy Trial Act's goal of

 "assur[ing] a speedy trial" for defendants and the public. See 18 U.S.C.

 § 3161(a).

              4. Prejudice

       Finally, courts should consider "the presumptive or actual prejudice to

 the defendant" due to a delay beyond the Speedy Trial Act's limits. Taylor, 487

 U.S. at 340. "The longer the delay, the greater the . . . prejudice to the

 defendant, in terms of his ability to prepare for trial or the restrictions on his

 liberty." Id. Specifically, courts consider whether the delay "disrupt[ed] his


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 employment, drain[ed] his financial resources, curtail[ed] his associations,

 subject[ed] him to public obloquy, and create[d] anxiety in him, his family, and

 his friends." Id. (citations omitted).

       Here, Mr. Cruz-Rivera faced a 33-day delay beyond the Speedy Trial Act's

 allowable period for bringing an indictment, but that alone is not enough to

 justify dismissal with prejudice. See Sykes, 614 F.3d at 310 ("[A] delay of 224

 nonexcludable days does not by itself require dismissal with prejudice.").

       While Mr. Cruz-Rivera "feels [that] his life . . . was stripped from him the

 day of his arrest" and that he has suffered "irreparable harm," dkt. 37 at 4,

 such generalities do not constitute prejudice, see Sykes, 614 F.3d at 310–11.

 He has not, for example, shown that the 33-day delay harmed his ability to

 prepare for trial or caused him prejudice beyond that involved with a criminal

 prosecution in general. See United States v. Scott, 850 F.2d 316, 321 (7th Cir.

 1988) (stating that a showing of prejudice requires "evidence of anxiety beyond

 that which reasonably corresponds with a criminal prosecution, conviction,

 and imprisonment"). Moreover, Mr. Cruz-Rivera is also under separate

 criminal charges based on the same facts brought by the State of Indiana. See

 State of Indiana v. Cruz-Rivera, Case No. 49D18-2003-F6-012519 (Marion Cty.

 Super. Ct. Mar. 27, 2020). Therefore, Mr. Cruz-Rivera has not shown that any

 challenges he has faced rise to a level requiring dismissal with prejudice.

       Considering all relevant factors, dismissal without prejudice is

 appropriate.




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                                      III.
                                   Conclusion

       For the reasons discussed above, Mr. Cruz-Rivera's motion to dismiss the

 charge against him with prejudice is GRANTED in part and DENIED in part.

 Dkt. [33]. The indictment, dkt. [9], is DISMISSED without prejudice. The

 government's request for a 21-day stay of the execution of the order of

 dismissal, dkt. 35 at 10-11, which is not supported by authority, is DENIED.

 SO ORDERED.

 Date: 5/5/2021




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